
25 So. 3d 644 (2009)
James VINCENT, Petitioner,
v.
STATE of Florida, Respondent.
No. 1D09-3780.
District Court of Appeal of Florida, First District.
December 31, 2009.
James Vincent, pro se, Petitioner.
Bill McCollum, Attorney General, and Brooke Poland, Assistant Attorney General, Tallahassee, for Respondent.
PER CURIAM.
The petition is granted and James C. Vincent is afforded a belated appeal of the order of the Circuit Court for Duval County dated April 1, 2009, denying motion to correct illegal sentence in its case number 1994-CF-005708-AXXX-MA. Upon issuance *645 of mandate in this cause, a copy of the opinion will be provided to the clerk of the circuit court who shall treat it as a notice of appeal.
PETITION GRANTED.
BARFIELD, WOLF, and LEWIS, JJ., concur.
